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UNITED sTATEs DISTRICT Codi’éi J’JH l 0 ii?i 9¢ 5 0
MIDDLE DISTRICT oF FLoRlp¢._ _ mr …
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JAcnsanerLE uisnz:¢i"
sTEPHEN KNUTH,

Plaintif’f,

V- cAsE No. Q)`.\LJ.L\/ vi\`~)\ - 5“'5\)\:§@9

DEPARTMENT STORES NATIONAL
BANK,

Defendant.

 

NOTICE OF REMOVAL
PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ l33l, l44l(b), and 1446,
defendant Department Stores National Bank (“M”) hereby removes the action entitled
Stephen Knuth v. Departmem Stores National Bank, which is pending in the Circuit Court for the
Fourth Judicia| Circuit of Florida, in and for Duval County, Case No. l6-2016-CA-003081-

XXXX-MA (the “Action”), to the United States District Court for the Middle District of Florida

 

on the following grounds:

l. DSNB received service of the Summons and Complaint in the Action on May ll,
2016. Copies of the docket, Civil Cover Sheet, Summons, and Complaint are attached hereto as
ExhibitA.

2. DSNB has timely filed this Notice of Removal within 30 days of service of the
Summons and Complaint. See 28 U.S.C. § l446(b).

3. The Action is a civil action of which this Court has originaljurisdiction under 28
U.S.C. § 1331 and is one which may be removed to this Court by DSNB pursuant to the

provisions of 28 U.S.C. § l441(a) because Plaintif`f, Stephen Knuth, alleges violations of the

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federal Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (see, e.g., Complaint at p.
5) a claim which is created by and arises under federal law. To the extent any other claims in the
Action may arise under state law, supplemental jurisdiction over such claims exists pursuant to
28 U.S.C. §§ 1367 and l44l(c).

4. This Court is the proper district court and division for removal because the Action
is pending in Duval County, Florida.

5. DSNB is simultaneously filing a copy of this Notice of Removal of Action with
the state court in the Action. DSNB will serve Plaintiff with copies of this Notice of Removal
and the notice filed in the Action.

6. By virtue of this Notice of Remova| of Action and the notice filed in the Action,
DSNB does not waive its rights to assert any personal jurisdictional defenses or other motions
including Rule 12 motions, motions to compel arbitration, or both, as otherwise permitted by the
Federal Rules ofCivi| Procedure.

7. DSNB certifies, to the best of its knowledge, that: true and legible copy of all
process, pleadings, orders, and other papers or exhibits now on file in the state court have been
attached to this Notice of Removal ofAction; and there are no motions pending in the state court.

Dated: June 10, 2016 Respectl`ully submitted,

AKERMAN LLP

/s/ John L. Dicks II

.lohn L. Dicks lI

Florida Bar No.: 89012
john.dicks@akerman.com
caren.collier@akerman.com

401 East .lackson St., Suite 1700
Tampa, Florida 33602

Phone: 813-223-7333

Fax: 813-218-5410

and

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Jacob A. Brown

Florida Bar No. 0170038
jacob.brown@akerman.com
lei|ani.caylao@akennan.com
jennifer.meehan@akerman.com
50 North Laura Street, Suite 3100
.lacksonville, Florida 32202
Telephone: (904) 798-3700
Facsimile: (904) 798-3730

Attorneysfor Department Stores National Bank

CERTIFICA'I`E OF SERVICE

l HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by
email to Plaintifl’s counsel, Todd M. Davis, Esq. at TD@DavisPLLC.com on this 10th day of
.lune, 2016.

/s/ John L. Dicks 11
Attorney

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